     Case 2:19-cv-01448-JAK-FFM Document 33 Filed 11/15/19 Page 1 of 2 Page ID #:263


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                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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        JAMES RUTHERFORD, an
11                                                    Case No.: 2:19-cv- 01448 -JAK-FFM
        individual;
12
                    Plaintiff,                        ORDER RE MOTION FOR LEAVE TO
13
                                                      AMEND PLAINTIFF’S COMPLAINT
14      vs.                                           (DKT. 25)
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16      USA GAS, a business of unknown
17      form; THRIFTY OIL CO., a
        California corporation; and DOES 1-
18      10, inclusive,
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                      Defendants.
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              Based on a review of Plaintiff’s Motion for Leave to Amend Plaintiff’s Complaint
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     (the “Motion” (Dkt. 25)), Defendants’ Opposition to the Motion (the “Opposition” (Dkt.
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     27)), and Defendants’ Evidentiary Objections to Declaration of David Fitzgerald (Dkt.
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     28), sufficient good cause has been shown that leave to amend should be granted. Leave
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     to amend is appropriate where the request to do so is made sufficiently early in the
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     proceedings, and where doing so would not impose undue prejudice on the non-moving
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     party. Although the actions by Plaintiffs’ counsel in connection with the Motion were
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     not exemplary, and notwithstanding that the proposed amended complaint presents new


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     Case 2:19-cv-01448-JAK-FFM Document 33 Filed 11/15/19 Page 2 of 2 Page ID #:264


 1   alleged physical barriers, there is still not a substantial showing of prejudice to the non-
 2   moving party. Therefore, the Motion is GRANTED, and Plaintiff may file the First
 3   Amended Complaint that is attached as Exhibit 1 to the Declaration of David M.
 4   Fitzgerald. Dkt. 1-1. Plaintiff’s First Amended Complaint shall be filed no later than
 5   November 20, 2019.
 6         Plaintiff’s counsel are reminded of their respective obligations to comply with the
 7   Local Rules, and to proceed in good faith with opposing counsel. A future failure to
 8   comply with Local Rules may result in the imposition of sanctions.
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           IT IS SO ORDERED.
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     Dated: November 15, 2019                __________________________________
12                                           JOHN A. KRONSTADT
13                                           UNITED STATES DISTRICT JUDGE
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